         Case 1:21-cr-00537-JMC Document 159 Filed 05/17/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

         v.                                           Criminal Action No. 21-537-(1) (JMC)

 RYAN SAMSEL, ET AL.,

                        Defendants.



                                              ORDER

       This matter came before the Court on the motion of defendant Ryan Samsel seeking

revocation and review of the order for his pretrial detention. The motion included arguments

relating to Mr. Samsel’s medical care while detained. This Court held a hearing to address Mr.

Samsel’s motion on May 3 and 5, 2022, when, among other matters, the Court considered a

memorandum, a declaration, and testimony from the clinical director of the Bureau of Prisons’

facility in Lewisburg, Pennsylvania where Mr. Samsel is currently housed. With respect to Mr.

Samsel’s medical claims, for reasons that are limited to the specific facts of this case and that were

stated on the record on May 5, 2022, it is hereby

       ORDERED that, within fourteen (14) days of the date of this order, or a longer period for

good cause shown, Mr. Samsel shall receive an independent medical evaluation at a tertiary

research center. To the extent feasible, the Court recommends that the evaluation be conducted by

the University of Pennsylvania Medical Center in Philadelphia, Pennsylvania;

       ORDERED that the evaluation shall provide a comprehensive physical assessment of Mr.

Samsel and shall identify what if any procedures he requires and whether or not any procedure is

elective or required on an urgent basis;




                                                  1
         Case 1:21-cr-00537-JMC Document 159 Filed 05/17/22 Page 2 of 2




       ORDERED that to facilitate and expedite the independent medical evaluation of Mr.

Samsel, defense counsel shall, within five (5) days from the date of this order, provide to the

prosecution any of Mr. Samsel’s medical records in defense counsel’s possession that are not

already part of records provided to the Bureau of Prisons; the prosecution shall arrange to provide

those records to the United States Marshals Service and the Bureau of Prisons, so that the records

can be made available to the tertiary research center as needed for the independent medical

examination;

       ORDERED that Mr. Samsel shall be transported to an appropriate Bureau of Prisons

facility for the purpose of receiving the independent medical evaluation; and it is further

       ORDERED that, no less than three (3) days before Mr. Samsel is transferred from the

Bureau of Prisons’ facility in Lewisburg, Pennsylvania where he is currently housed, the Bureau

of Prisons, the United States Marshals Service, or government counsel in this case shall notify

defense counsel of the details of the upcoming transfer, including the name of the tertiary research

center where Mr. Samsel will receive the evaluation.

       SO ORDERED.

       DATE: May 17, 2022




                                                                  Jia M.
                                                                      M Cobb
                                                             U.S. District Court Judge




                                                 2
